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TO: Interim Federal Monitor

INVOICE 0055 FOR PROFESSIONAL SERVICES; SEP 1 — 28, 2019
RELEASED BY SCOTT CRAGG, CRYSTAL REEF LLC, 13932 SOUTH SPRINGS DR, CLIFTON VA 20124

Puerto Rico Police Department Consent Decree

The invoice for professional services rendered by Crystal Reef LLC (Monitoring Core Team) during the month

of Sep 2019 is detailed as follows:

On-Site
hours
Puerto Dates of Billable
Task Performed US Hours Rico Service Amount
3 22-Sep $450.00
eet . 8 23-Sep $1,200.00
Work performed on-site in Puerto Rico 3 24-Sep $1,200.00
8 25-Sep $1,200.00
Net hours in PR _ 27. $4,050.00
Communications & Coordination - telcons
and emails to/from CT, PRPB, USDOJ,
Judge, Special Master. Subjects include,
protests, site coordination, monitoring
methodologies, guidance, planning, site
logistics, network assessment, DOJ
comments to document requests, etc. 6.75 $1,012.50
Site visit planning and prep 1.75 $262.50
Review Methodology materials and
worksheets from Party's and Monitors;
Search and Seizure, Recruitment,
Professionalism, Supervision and
Management, IT, Community
Engagement, Civilian complaints,
Community Engagement, Equal Protection
Drafts to final, New Orleans trip report. | 19.75 $2,962.50
Trip Report 3.00 $450.00
Review and research of materials relevant
to Puerto Rico Reform; IT Action Plan,
Training Evaluation Model
(Bradley/Connors) 4.50 $675.00
Net Hours US| 35.75 $5,362.50
TOTAL BILLABLE HOURS IN PUERTO RICO @ $150/hr. 27.00 $4,050.00

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TOTAL OF BILLABLE HOURS IN US @ $150/hr. 35.75 $5,362.50
Subtotal - Labor 29,4 412. 50
Uncompensated Labor ml
Net Allowable Labor 59, 700. 00
Airfare $277.20
Hotel $407.10
Meals $179.64
Cab fares/transportation $73.95
Sub-total Expenses $937.89
Uncompensated Expenses
Net Allowable Expenses $937.89
Total Cost $10,350.39
Allowable Fee $10,037.89

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Subject: Reservation Receipt

Date:

From: AirportParkingReservations.com

To:

slcragg@verizon.net

Email not displaying correctly? View it on your | -

Reservation Made By - 82.055 22...
Reservation ID: 6959789

2799 Jefferson Davis
Highway

Arlington, VA 22202
703-413-6897

scott cragg

Valet Covered
09/22/2019 06:30 AM
09/25/2019 10:15 PM
4 days of parking

YOU MUST PRINT THIS RECEIPT AND BRING IT WITH YOU

TO THE PARKING LOT.

Saturday, September 21, 2019 at 8:45:39 PM Eastern Daylight Time

:. instead.
Parking Price (4 Days of parking) $40.00
Lot Taxes & Fees* $4.00
Service Fee $5.99
Total $49.99
You Paid $49.99

Your credit card ending in (6833) was charged $49.99 USD
for this transaction.

Remaining Due at Parking Lot $0.00
*Lot Taxes & Fees Include the Following
Airport Access Fee $4.00

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SJU - DCA:

Fare: Blue

Bags: Your Mosaic membership includes two (2)
checked bags per person. You also get one (1) carry-on
and one (1) personal item.*

Seat: 15C

Notes:

Get up to 7" more legroom, a fast lane to the TSA
checkpoint*, and early boarding—all the better to
nab that overhead bin.

Add Even More Space

*Select cities

Payment Details

Visa NONREF - FEE FOR $220.00
XXXXXXXXKXXEBS3 CHG/CXL

Taxes & fees $57.40

Total: $277.40

USD

Purchase Date: Aug 18, 2019

Request full receint

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OG0 MIRAMAR
AVE. PONCE DE LEON # 859
SAN JUAN, PR 00380
(787) 124-0222
Server: tony Station: 1
— Order #: 15890 Dine In
, Table: Guests: 2
1 Coca Cola 2.00
1 STEAMED PUNPLING 6.00
4 ISO SOUP. 3,00
4 TRADIT. PEPPER STEAK ° 16.75
> poco peper
1 BOWL STEAM RICE 1.75
1 Diet Coke 2,00
1 GENERAL TAOS CHICKEN 15.75
1 SOUTH SEA SUPREME 23.50
4 SZECHUAN BEEF 11.25
1 MEDALLA 4.00
1 RM CHARDONNAY cP 6.75
1 Coca Cola 2,00
1 RM CHARDONNAY cp 6.75
1 CH. TERIYAKI 15.75
SUB TOTAL: 123.25
Tu TAK 40.5%: 12.95
CITY TAX 1%: 1.24
Th .
San Juan seo Het: W«
Served by: Of PUBD LU RIL, Ubi /2019 §:80:3
i y: 6833 9/22/2019 2218-42 +e SEETHER EEE
erm ID-Trans# 1/A~120889 pm OA
aty Size Tten » xt
neotte so tae rice
i Nor annem OR
3002 Fountain Brink 2,49 heobinat DONUTS #343818
Sub Total m shington Reagan Atreort
PR TAK Group (10.58) 2.49 9/22/2019 1694
et eet JAX {1%} 0.26 2/001 cence eel 09
eo oT chek: 923 oe
Change 5.00 Server: Fndale
2.23 Terminal: 9
Host Order — C :
er ID: SPH20190922021842 Center Pier
gTienes hambre de ads? Dé SSESESSSESSS SEA SEESESESER ASHES
més? Déjanos saber 225 OCA
Y abten in Oe gional eee coe tu 1 Md Coffee Decaf 2.5
con tu una galleta GRATIS DD Cream 99
proxima compra. Dp Cream
; D Sugar
CONTROL: LUNRG- 7027R OD Sugar
Processed DD Sugar
ssed by Softek 1 Bonut 13
%
Subtotal 3.89
Tax 0.33

Total 4.28

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RARE 125
EDIF. CENTRO DE SEGURO 701.
San Juan, Puerto Rico 00926
(787) 946-4996

Mesero; Kristina Estacién: 16
# de Orden: 43447 Mesas
Mesa: MESA 8 Personas: 7
1 PETIT SOUP 0.00
1 PETIT CHURRASCO 14,00
1 PETIT SALAD CAESER 0.00
1 ONIGN CHICKEN BREAST 15.50
TRUFFLE FRIES
1 ARUGULA 10.00
1 PETIT SALAD. ARUGULA 0.00
1 PETIT SALMON 14.00
1 PUMPKING SOUP 6.00
1 CAESAR SALAD 9.00
2 COCA COLA LATA 4,00
1 DIET COKE LATA 2.00
1 CAFE TAZA 3.50
1 CAFE ESPRESSO 3.00
1 CAFE AMERICANO 3.00
2 LIMONADA VASO 8.00
| PELEGRINO BOTELLA 3.50
1 PETIT SOUP 0.00
1 PETIT CHURRASCO 14.00
1 PETIT SOUP 0.00
1 PETIT SALMON 14.00
SUB TOTAL: * 123.50
CITY TAX: Lg 1.24
IW: es. 12.97
TOTAL DE LA ORDEN: 137.71
18 % PROPINAS: 22.23
“$159.94
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8 «
10 PM
& See EERE

KRKAEAREEE SESS

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“ Courtyard by Marriott 801 Ponce de Leon Ave.
COURTYARD San Juan - Miramar San Juan, PR. 00907
Aaarriott guest.service@courlyard.com T 787.721.7400
F 787.723.0068
Mr Scott Cragg Room: 0806

13932 S Springs Dr

Clifton VA 20124 Room Type: EKNG

United States No. of Guests: 1
Rate: § 115.00 Clerk: §
Marriott Rewards # 797225828 CRS Number 89214691
Name:
Arrive: 09-22-19 Time: 12:51 Depart: 09-25-19 Falio Number: 616127
_

Date Description Charges Credits
09-22-19 Package 115.00

09-22-19 Government Tax 10.35

09-22-19 Hotel Fee 10.35

09-23-19 COMEDOR- Guest Charge (Breakfast) 3.00

09-23-19 Package 115.00

09-23-19 Government Tax 10.35

09-23-19 Hotel Fee 10.35

09-24-19 Comedor - Guest Charge 3.00

09-24-19 Package 116.00

09-24-19 Gavernment Tax 10.35

09-24-19 Hotel Fee 10.35

09-25-19 Comedor - Guest Charge 3.00

09-25-19 Visa Card 416.10

Card # XXOOCXXXXXKXK 6833
Balance 0.00 USD

Marriott Rewards Member, you could have earned points toward your free dream vacation today. Start earning points and elite status,
2njoy exclusive member offers. Enroll today at the front desk.

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MELANZANA BISTRO PIZZERI
AVE PONCEDE LEON 650
SAN JUAN, PR. 00907

787-722-1010
SALE
\ REF#: 00000015
Batch # 034
09/23/49 20:35:43
APPR CODE: 06319Z
Trace: 15
MASTERCARD Chip

itsreag 796 sayee

BASE AMOUNT $28.00

STATE TAX $2.94
MUNICIPAL TAX $0.28
SUBTOTAL $31.22
(00
TIP $ —

rem: 4 9 <

CONTROL: 439NS-25PED
EG .

APPROVED

MASTERCARD

AID: A0000000041070
TVR: 00 00 00 80 00
TS: E8 00

“~ vOU

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MELANZANA BISTRO PIZZERI
AVE PONCEDE LEON 650
SAN JUAN, PR. 00907
787-722-1010

SALE

REF#: 00000014
Batch #: 034 ,
09/23/19
APPR CODE: 030482
Trace: 14
MASTERCARD
wath AO T OE

90:34:34

Chip

aajee

BASE AMOUNT $103.50
STATE TAX $10.87
MUNICIPAL TAX $1.04
SUBTOTAL $116.41

oP
TIP $ ~

TOTAL $ S9-Y

CONTROL: 2PCY6-19Y62
EG

APPROVED

MASTERCARD

AID: A0000000041010
TVR: 00 00 O00 80 00
TSt E8 00

THANK VAI!

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METROPOLITAN AREA
AREA METROPOLITANA

pate__| [22—

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PARE $ 1
LUGGAGE $
TOTAL $ 24 a
C SIGNATURE

“THANK YOU FOR YOUR VISIT TO PUERTO RICO”
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LARS UR
Lit ALRPORT ROAD S75 JOSE A TONY SANTANA
LAU IRA
UATE UKE onl
Sep 25.14 16:80:50 fil
BATCH TERMINAL ID MERCHANT ID
Guucas M1 3146 SS49L0b662 129
SALE.
ACC.
SIAR MAEMARARDESS
AUTH. CODE: @1726D © INVOICE: 881553
TRACE |: OO1509
AOU +s 186.39
State 1Aa: + L.ws
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CONTROL: 4yY304-V7sSuUP

S]GIAUIURE: X

VISA UREQTT
AlO: ABBSBVESYSIOLA AC: OLFSBC7F449309289
UN: C322C3A3 TVR: @880088800 TSI: FeaE

CARGHOLUER ACKNONLEDGES RECEIPT OF GOODS

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LOS PINOS
655 PONCE OE LEON
SAN JUAN, PUERTO RICO 00801
ph (787) 722-6862

Gracias por su visita

TABLE: 44 - 1 Guest
Su Mecera (o) fue RAFAELA
9/22/2019 6:02:17 PM
Sequence &: 0000160
ID #: 0176883

ITEM QTY PRICE
ALITAS PLATO (2410.95) $21.90
TOSTONES 1 $3.00

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ANDVOR SERVICE on A
SO HEREIN m HO AGES 1 “oro REFRESCO LATA etotal (3891.75) aa
iN . .
AGREEMENT WITH THE ISSUER ® MUNICIPAL TX 1% $030
UG STATE TX 10.8 $3.17
CUSTOER COPY ican aren ne ate RT
Gacias sa cntrocime TE
= : Grand Total $33.62
a - R) Credit Purchase ‘0 J
& B ; Name sROMERO/JO
a a Crates CC Tyne ‘VISA
CC Num “KKK KKK KXXX 1287
Reference 7635088 :
MIRAMAR Approval 099440
Gerente Sonia Aguila rer ket vane :RAFAELA
Tel. 787 725 4479 Veet ha ‘
Payment Amount: $33.62
GROCERY Tip: 6-3
| @ 4/ $4.00 “of 4. wf
BIMBO 1X3 COUT $1.4 T12F Total: tf

1 8 3/ ¢4.00

BINBU 2X2 HANTELALO $1.34 TEZF

1 37 $4.00 Kee
ag aX : ) ae ay 144 CUSTOMER COPY
BiMad 2X2 MANTCCADO $1.33 TtZF I agree to pay the amount shown above.
[ters Subtotal $4.0) — Le esperamos pronto
Subtotal $4 . oi eeucinsa= we ew npueReREEat sDessesseRssSsocese
GOV [$4.01] $0.42 Suggested tip on $30.15 158
MUN [$4.01] : 20% 1
. N ($4. au ce cee pw ae wo 8 - $6.03 $5.43 $4.52
teh fo'00 Su Cpinicn es Importante

2 .
Change $46.53
Tem court ‘J

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